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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 ZACH McQUEEN and FRED
 KRAUTKRAMER, individually and on                 Civ. No.: 19-cv-2559 (DWF/BRT)
 behalf of others similarly situated,
                                                  STIPULATION TO FILE THIRD
                             Plaintiffs,          AMENDED COMPLAINT

             vs.

 YAMAHA MOTOR CORPORATION,
 U.S.A.,

                             Defendants.



       WHEREAS, on January 15, 2020, Plaintiffs Zach McQueen and Fred Krautkramer

(collectively, “Plaintiffs”), filed a Second Amended Complaint [Dkt. No. 21];

       WHEREAS, on October 5, 2020, Defendant Yamaha Motor Corporation, U.S.A,

(“Defendant” or “Yamaha”), filed an Answer to the Amended Complaint [Dkt. No. 48];

       WHEREAS, on October 26, 2020, the Court entered an Amended Pretrial

Scheduling Order [Dkt. No. 53], setting a deadline for Plaintiffs to add additional parties

and claims by January 4, 2021;

       WHEREAS, on January 4, 2021, Plaintiffs filed a Motion for Leave to File a Third

Amended Complaint, along with supporting documentation [Dkt. Nos. 55–59];

       WHEREAS, on January 11, 2021, the Court held a telephonic meeting to discuss

the proposed Third Amended Complaint, where the parties agreed to stipulate to its filing

and render moot Plaintiffs’ Motion for Leave [Dkt. Nos. 55–59];
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      THEREFORE, Plaintiffs and Yamaha hereby stipulate to Plaintiffs filing the

proposed Third Amended Complaint pursuant to Rule 15(a)(2) of the Federal Rules of

Civil Procedure.

Dated: January 15, 2021                       Respectfully submitted,

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